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                                                                       U.S. Department of Homeland Security
                                                                       425 I Street. NW
                                                                       Washington, IX' 205J6


                                                                       u.s. Immigration
                                                                       and Customs
                                                                       Enforcement
                                      JAN 1 1 2005


MEMORANDUM FOR:               ALL SPECIAL AGENTS IN CHARGE
                              ALL FIELD OFFICE DIRECTORp

FROM                          Marcy M. Fonnan         /l /ri. 1---
                              Director                 ~
                              Office of Investigations, I ~         /J
                              Victor X. Cerda   ~~
                              Acting Director
                              Detention and Removal Operations

SUBJECT:                      ICE Transportation, Detention and Processing Requirements

rhe attached memorandum dated October 18, 2004, from Border and Transportation Under
Secretary Asa Hutchinson entitled "Detention Prioritization and Notice 10 Appear
Documentary Requirements" is re-circulated with this guidance. This memorandum applies to
all components within US Immigration and Customs Enforcement (ICE).

fo assist the field locations in implementation of the aforementioned memorandum, the Office
of rnvestigations (01) and the Office of Detention and Removal Operations (DRO) are
providing this joint guidance to the Special Agents in Charge (SAC) and Field Office Directors
(FOD)

 rhe following guidance will assist the SACs and FODs while conducting immigration
I!ntorCtment operations:

   •    The arresting office is responsible to ensure all aliens in ICE custody are served with
        appropriate processing papers that will facilitate the most expedient removal process
        (i.e. stipulated removal, reinstatement, administrative, expedited, notice to appear) as
        soon as possible after being taken into custody, but no longer than forty-eight (48)
        hours in the absence of exceptional circumstances.

   • or and DRO personnel will notify their respective management when a detained alien
        has not been processed/served within 48 hours of being in Immigration and Customs
        Enforcement (ICE) custody. The SAC/FOD or designee will ensure that the aliens are
        processed and served immediately. All aliens will be served in an expeditious
        manner.
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       •   DRO will continue to provide the transportation support to 01 of aliens prior to
           processing, from jails, roadside smuggling loads, drop houses and other significant
           enforcement operations as conducted in past local procedures. SACs and FODs should
           ensure proper communication and understanding of the local level of transportation
           support.

       •   DRO does not have the legal authority to transport United States Citizens (USCs) or
           Lawfully Admitted Pennanent Residents (LAPRs) for criminal proceedings. However,
           DRO will transport LAPRs and/or illegal aliens that may be presented as material
           witnesses, after they have been processed for a Notice To Appear (NT A). ORO will
           not detain an alien solely on the basis of a material witness warrant. If such is
           occurring, both the SAC and FOD should address this issue with the local U.S.
           Attorney's Office.

       •   Should the FOD or designee determine that an alien, categorized as a Mandatory
           Detention or High Priority #1-6 detention, as described on page 2 of the attached
           memorandum "Detention Prioritization and Notice to Appear Documentary
           Requirements ", be released at the time of processing, the ORO office will provide a
           written denial to the SAC for inclusion in the alien's A-File. This should only occur
           when the national bed space population is at capacity and such situation should be
           reported by the FOO to HQDRO prior to such release.

       •   fhe A-file should be completed and accompany the aliens when they are turned over to
           DRO or with the least possible delay. If the A-file is not available or the A-file needs
           to be retained for prosecution purposes, the processing agent will create a temporary
           file (T-file), which will include the original NTA and copies of all other required
           documentation for ORO use and tracking. T -Files should be used in extremely limited
           circumstances.

       •   In the event that the Judgment & Conviction (J&C) documents are necessary for an
           alien's removal hearing and are unavailable when the A-file is transferred to ORO, the
           processing agent must ensure that the J&C documents have been requested by
           annotating the request in the A-file. The processing agent is responsible for ensuring
           that the J&Cs are forwarded to ORO for inclusion in the A-File in a timely manner.

   & DRO Headquarters staffs are working together to ensure uniformity and that a spirit of
\.)l
cooperation exists during this transition period. It should be emphasized however that local
communication and coordination between SAC and FOD offices should occur to ensure proper
Implementation and monitoring ofthese requirements.

Attachment

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MEMORANDUM TO: Robert C. Bonner
               Commissioner
               U.S. Customs and Border Protection

                            Michael J. Garcia
                            Assistant Secretary
                            U.S. Immigration and Customs Enforcement


FROM:                        Asa Hutchinson
                             Under Secretary

RE:                          Detention Prioritization and Notice to Appear Documentary
                                 Requirements



This memorandum provides priorities for the detention of aliens and outlines
docmnentary requirements that must be met when transferring custody of aliens to
Immigration and Customs Enforcement (ICE), Office of Detention and Removal
Operations (DRO). The guidance in this memo supercedes all outstanding guidance
regarding priorities for the detention of aliens within Border and Transportation Security
(BTS). All BTS personnel must adhere to legal authorities and the procedures set forth
below in making decisions regarding whether to detain an alien. l

1. Detention Priorities

The following guidelines provide priority categories for the detention of aliens subject to
detention. An alien being considered for detention should be placed in the highest
numbered priority within the top category possible (i.e., an alien fOlUld to have a credible
fear of persecution with an aggravated felony conviction would still meet the
requirements of Mandatory, #2). In the case of mandatory detention, the Director oflCE
DRO is to heed the guidelines strictly. In all other cases, the ORO Director retains the
discretionary authority with respect to allocation of bed space and other detention-related
resources. In all cases, the DRO Director is to heed these guidelines to the greatest
extent possible when determining detention priorities.


I Tbis policy does not supercede any requirem~t to release an a1i~ under,Zadvydas y. Dayis, 533 U.S.
678 (2001) and implementing guidance in 8 CFR §§ 241.4,241 .13 and § 241.14 nor does it apply to
unaccompanied juveniles.



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        All such aliens must be detained unless they fall within one of the exceptions to mandatory
        detention. There are no priority designations among categories of cases subject to mandatory
        detention. Questions as to whether a given alien falls under one ofth~·categories and must
        be detained should be directed to local legal counsel.                                  -

    Mandatory

        •     Aliens subject to mandatory detention under INA 236A2
        •     Aliens in exMdited removal (INA § 235) with limited exceptions 3
        •     Aliens subject to mandatory detention in removal and deportation proceedings
              under INA 236(c)4
        •     Aliens who have final orders of removal subject to mandatory detention under
              INA 241 (a)(2), whether ordered removed pursuant to INA 238 or 240
              proceedings s

    High Priority
        1. National Security Interest aliens including aliens who are subject to an ongoing
           national security investigation or who, by virtue of specific information or
           intelligence specific to the alien in question raise a national security concern, as
           identified either by 1) the Joint Terrorism Task Force, 2) Immigration and
           Customs Enforcement, or 3) by U.S. Customs and Border Protection (CBP). 6
        2. Continued detention of aliens with final administrative orders past 180 days on
           acc01mt ofspeciaJ circumstances (i.e. 8 CFR 241.14).
        3. Aliens who have been issued final removal orders over 9O-days old, where
           removal is foreseeable.
        4. Aliens who present an articulable danger to the community (claimant agency must
           be able to articulate the danger)
        5. Aliens who exhibit specific, articuable intelligence-based risk factors for terrorism
           or national security concern not solely based on the alien's race, ethn.icity,
           nationality or religion (as identified by either 1) the Joint Terrorism Task Force,
           2) Immigration and Customs Enforcement, or 3) by U.S. Customs and Border
           Protection.
        6. Aliens associated with ongoing significant criminal investigations;

    2 Priorapproval of the ICE National Security Unit and the ICE Office of the Principal Legal Advisor is
    required before charges may be brought under either INA § 212(a)(3) or INA § 237(a)(4) .
.   3 Not all aliens in expedited removal proceedings are subject to mandatory detention, however. See, for
    example 8 CFR § § 235.3(b)(2)(iii), 235.3(b)(4Xii), and 23S.3(b)(S){i) allowing for parole in limited
    circumstances of medical emergency, or where necessary for a legitimate law enforcement objective.
    4 Note that INA 236{cX2) authorizes release to provide for protection of a witness, etc., where the alien
    does not pose a danger to the safety of others or to property and is likely to appear for any scheduled
    proceedings.
    5 This includes aliens ordered removed under INA 240 and criminal aliens ordered removed under INA
    238. These aliens may not be released under any circumstances during the 9Q-.day removal period set forth
    in INA 241 (aX2). Following the 9O-day period, the continued detention of such aliens should be
    determined pursuant to criteria in Zadyydas, supra and implementing guidance in 8 CFR §§ 241.4, 241.13,
    and 241.14.
    6 ICE and CBP shall track all cases where the two bureaus disagree on whether a particular alien poses a
    national security threat CBP and ICE shall review these cases on a quarterly basis.


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   7. Remaining criminal aliens not subject to 236(c);
   8. Aliens whose detention is essential to national border enforcement initiatives',

Medium Priority
   1. Suspected alien and narcotics smugglers
   2. Aliens who committed fraud
   3. Inadmissible, non-criminal aliens (other than expedited removal cases)

Lower Priority
   1. Worksite enforcement arrests
   2. Final orders (beyond 179 days-not likely to remove)
   3. Aliens placed in expedited removal found to have a credible fear and referred for
      full 240 proceedings.
   4. Other aliens not subject to required detention


II. Documentary requirements.


Each component must ensure apprehended aliens are processed efficiently and placed in
the appropriate and most expedient removal process. (e.g. stipulated, reinstatement,
administrative, expedited) At a minimum, the following documents must be completed
by the apprehending entity and presented to DRO to ensure each case moves swiftly
through the removal process:
   • Original charging documents;
   • Completed Form 1-213 (Record of Deportable/lnadmissible Alien) or approved
     equivalent;
   • 2 completed Forms FD-249 (fingerprint cards);
   • R-84 Form with prints and biographical information completed;
   • Print out of results, including negative responses, of name search in IBIS "SQ 11 ,.
     function.
   • IAFIS printout relating to criminal history; if IAFIS is not available, print out of
     results, including negative responses, based on name search in either NCIC or
     NLETS.
   • Record of Fingerprint Identification Number (FIN) generated by the Automated
     Biometric Identification System (IDENn;
   • 4 photographs;
   • Completed Form 1-2] 7 (Information for Travel Document or Passport if
     required);
   • Documentation of Consular Notification;
   • Certified conviction records, when applicable. In the event that conviction
     records are not immediately available, the arresting officer must provide written
     notification to the file that a Certified Copy of the-Conviction Document has been
     requested, and include in the administrative file the following information: the
     exact date and jurisdiction where the alien was convicted, the name and telephone
     number of the referring officer and the supervisor, the name and contact


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        information of the agency official responsible for procuring the conviction record.
        Furthermore, the arresting agency must.rroduce the actual conviction record
        within 30 days of issuance of the NTA;
    •   Documentation reflecting that appropriate record checks (Central Index System
        (CIS), Non-Immigrant Information System (NIlS), National Crime Information
        Center (NCIC), IDEm, Interagency Border Inspection System (IBIS), etc.) have
        been completed;
    •   Completed Form 1-203 or 1-203A [Order to Detain or Release Alien(s)] bearing the
        appropriate official's signature must accompany each detainee presented for
        detention;
    •   Notice of Custody Determination (Form 1-286), indicating date and time custody
        decision was made and probable charges against alien;
    •   And any other relevant documents pertaining to the detainee.

To ensure maximum efficiency in the use of the Department's finite detention bed
resources, it is imperative that this documentation is prepared and presented. Custody
responsibility will not be transferred to ICFJDetention and Removal Operations (ORO)
until ICEIDRO verifies that all of the above required documentation has either been
provided or has been waived by an ICEIDRO authorizing official at the detention site.
The arresting or delivering officer will ensure that detainees turned over to the custody of
lCFJDRO are accompanied by any personal items, identity documents, baggage and/or
prescription medications in that detainee's possession at the time of arrest.
The requirements I issued in my memorandum of March 30, 2004, Guidance on ICE
Implementation ofPolicy and Practice Changes Recommended by the Department of
Justice Inspector General, remain in effect. You are responsible for ensuring
implementation of these requirements.




7CBP shall establish within 30 days of this memorandum points of contact in each field office to
coordinate obtaining conviction records for cases where the conviction record is not timely produced.
C.ontact information sball be provided to the DRO Field Office Directors and the ICE ChiefCounseIs.


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